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           ORDERED in the Southern District of Florida on December 17, 2024.




                                                                        Laurel M. Isicoff, Judge
                                                                        United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov
               In re:                                                     Chapter 11

               SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

                     Debtors.                                             (Jointly Administered)
               _______________________________/

               ORDER APPROVING FIRST AND FINAL FEE APPLICATION FOR ALLOWANCE
                 AND PAYMENT OF COMPENSATION FOR JONATHAN FELDMAN IN HIS
                      CAPACITY AS CHIEF RESTRUCTURING OFFICER FOR THE
                               CHAPTER 11 DEBTORS [ECF NO. 134]

                        THIS MATTER came before the Court on December 16, 2024 at 10:00 a.m. (the

           “Hearing”) on the First and Final Fee Application for Allowance and Payment of Compensation



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            The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
           The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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for Jonathan Feldman in His Capacity as Chief Restructuring Officer for the Chapter 11 Debtors

[ECF No. 134] (the “Final Fee Application”) filed by Jonathan Feldman (“Feldman”) as the Chief

Restructuring Officer for the Chapter 11 Debtors, Shiftpixy, Inc., Shiftpixy Staffing, Inc. and

ReThink Human Capital Management, Inc. (collectively, the “Debtors”).

       In the Final Fee Application, Feldman seeks award of fees and reimbursement of expenses

incurred from October 28, 2024, through December 15, 2024, in the amount of $30,000 for fees

incurred.

       The Court, having reviewed the Final Fee Application, heard argument from counsel,

taking into consideration 11 U.S.C. § 330 and each of the factors that govern the reasonableness

of fees as set forth in In re First Colonial Corp. of America, 544 F.2d 1291 (5th Cir. 1977) and

Johnson v. Georgia Highway Express, 488 F.2d 714 (5th Cir. 1974), and based on the record, it is,

       ORDERED as follows:

       1.      The Final Fee Application is APPROVED, on a final basis.

       2.      Feldman is awarded on a final basis 100% of fees sought in the Final Fee

Application in the amount of $30,000 for a total award of $30,000 (the “Final Fee Award”). The

Court also approves the estimate of an additional $15,000.00 (the “Estimate”), plus any expenses.

Feldman shall file a supplement to the Fee Application with the required support to justify the

estimate and if no party has objected to the estimate within 7 days, the Debtor or the Chapter 7

trustee as the case may be is authorized to pay the estimate up to $15,000 plus expenses as detailed

in any supplement. Pending the filing of the supplement and the objection period the additional

$15,000.00 shall be held in the Phang and Feldman Trust account.

       3.      The Debtor is authorized to pay the amounts allowed herein.

       4.      In making the foregoing award, the Court has evaluated the factors set forth in In

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re: First Colonial Corp., 544 F.2d 1291 (5th Cir. 1977) and Johnson v. Georgia Highway Express,

Inc., 488 F.2d 714 (5th Cir. 1974), and finds that the amounts awarded herein represent reasonable

compensation for actual and necessary services rendered and expenses incurred by Feldman.

       5.       This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.



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Submitted by:

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[Attorney Marcushamer is hereby directed to serve a copy of this Order on all parties and file a
certificate of service with the Court within 3 days of entry of this Order.]




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